                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR99-0073-LRR
 vs.
                                                                ORDER
 ALVIN DAVIS,
               Defendant.

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       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 326) and motion for appointment of counsel
(docket no. 323). The defendant filed the former motion on March 7, 2008 and the latter
motion on December 26, 2007.1
       For the instant matter, the court does not intend to appoint counsel. See United
States v. Legree, 205 F.3d 724, 729-30 (4th Cir. 2000) (concluding that there is no right
to assistance of counsel when pursing relief under 18 U.S.C. § 3582(c)); United States v.
Tidwell, 178 F.3d 946, 949 (7th Cir. 1999) (same); United States v. Townsend, 98 F.3d
510, 512-13 (9th Cir. 1996) (same); United States v. Whitebird, 55 F.3d 1007, 1010-11
(5th Cir. 1995) (same); United States v. Reddick, 52 F.3d 462, 464 (2d Cir. 1995) (same).
Further, the court does not intend to conduct a hearing prior to denying a reduction based
on Amendment 706. See Legree, 205 F.3d at 729-30 (finding that a judge need not hold
a hearing on a motion pursuant to 18 U.S.C. § 3582(c)); Restrepo-Contreras v. United
States, No. 96-1411, 1996 WL 636560, *2, 1996 U.S. App. LEXIS 28844, at *5 (1st Cir.


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        At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction
under 18 U.S.C. § 3582(c)(2).

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Nov. 4, 1996) (same); Townsend, 98 F.3d at 513 (concluding district court did not abuse
its discretion when it did not hold an evidentiary hearing); United States v. Dimeo, 28 F.3d
240, 241 n.3 (1st Cir. 1994) (noting that the district court received no input from the
parties and conducted no hearing before reducing the defendant’s sentence under 18
U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s presence
is not required in a proceeding that involves the correction or reduction of a sentence under
18 U.S.C. § 3582(c)). Additionally, the court concludes that United States v. Booker, 543
U.S. 220 (2005), does not apply to proceedings under 18 U.S.C. § 3582(c)(2).
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.                See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The


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Sentencing Commission also promulgated amendments to USSG §1B1.10, which sets forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c).
       Nevertheless, the court is unable to rely on Amendment 706 to reduce the
defendant’s sentence. See generally United States v. Wyatt, 115 F.3d 606, 608-09 (8th
Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10).
Because the defendant is subject to a statutorily required minimum sentence, see 21 U.S.C.
§ 841(b)(1)(A), application of the retroactive amendment results in an amended guideline
range of 240 months imprisonment, see USSG §5G1.1(b), and the defendant is not entitled
to a reduction of his 156 month term of imprisonment.2 Accordingly, the court concludes


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         Based on a total adjusted offense level of 31 and a criminal history category of IV,
the court previously determined the defendant’s guideline range to be 240 months
imprisonment. The court sentenced the defendant to 240 months imprisonment on count
1 of the indictment. Subsequently, the court relied on Federal Rule of Criminal Procedure
35(b) to reduce the defendant’s sentence to 152 months imprisonment. A thirty-five
percent reduction to the amended guideline range results in the same term of
                                                                               (continued...)

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that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not warranted. Cf.
United States v. Peters, 2008 U.S. App. LEXIS 9225 (8th Cir. 2008) (concluding statutory
mandatory minimum applied, and, consequently, defendant could not rely on Amendment
706 to reduce his sentence under 18 U.S.C. § 3582(c)(2)); United States v. Jones, 2008
U.S. App. LEXIS 8923 (8th Cir. 2008) (same).
       The defendant’s motion to reduce sentence under 18 U.S.C. § 3582(c)(2) (docket
no. 326) and motion for appointment of counsel (docket no. 323) are denied. The Clerk
of Court is directed to send a copy of this order to the United States, the defendant and the
Federal Public Defender.


       IT IS SO ORDERED.
       DATED this 3rd day of June, 2008.




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       (...continued)
imprisonment.

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